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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


LARRY KLAYMAN, et al.,

                          Plaintiffs,
v.
                                                             Case No: 1:13-cv-00851-RJL
BARACK OBAMA, et al.,                                        Case No: 1:13-cv-00881-RJL

                          Defendants.



                             PLAINTIFFS’ NOTICE OF APPEAL

       NOTICE is hereby given that Plaintiffs Larry Klayman, Michael Ferrari, Charles Strange,

and Matt Garrison’s (“Plaintiffs”) appeal to the U.S. Court of Appeals for the District of

Columbia Circuit from the Order, of November 21, 2017, granting Defendants’ consolidated

Motion to Dismiss, Exhibit A, and Memorandum Opinion, of November 21, 2017, in Support

Thereof, Exhibit B, and all other orders and rulings averse to Plaintiff in this case.



Dated: December 21, 2017

                                                  Respectfully submitted,


                                                   /s/ Larry Klayman
                                                   Larry Klayman, Esq.
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                                                   Attorney for Plaintiffs



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                               CERTIFICATE OF SERVICE

       I, Larry Klayman, counsel for Plaintiffs hereby certify that on this day, December 21,

2017, a copy of the foregoing was filed via this Court’s ECF system and served upon all parties

and/or counsel of record.



                                                                   /s/ Larry Klayman
                                                                   Larry Klayman, Esq




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           EXHIBIT B
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